           Case: 22-2210   Document: 33       Filed: 02/01/2023   Pages: 4


               IN THE UNITED STATES COURT OF APPEALS
                      FOR THE SEVENTH CIRCUIT
                                   No. 22-2210


MEGAN DANIELS,
CHRIS DANIELS, and
BETSY DANIELS                               On Appeal from the United States
                                             District Court for the Western
                    Appellants,                   District of Wisconsin
vs.
                                              Honorable William M. Conley
UNITED HEALTHCARE
SERVICES, INC. and                                Case No. 3:19-cv-1038
UNITED BEHAVIORAL
HEALTH

                    Appellees.


                 APPELLEES’ UNOPPOSED MOTION TO
             POSTPONE ORAL ARGUMENT DUE TO A DEATH
               IN LEAD COUNSEL’S IMMEDIATE FAMILY


      Pursuant to Circuit Rule 34(e), Appellees United Healthcare Services,
Inc. and United Behavioral Health (“Appellees”) move to postpone the oral
argument in this appeal due to a death in lead counsel’s immediate family.
Oral argument is currently set for February 7, 2023. Appellants do not oppose
this request. Appellees offer the following reasons in support of the motion:
      1.       Appellees’ lead counsel, both at the district court and on appeal,

is Michelle Grant of Dorsey & Whitney LLP in Minneapolis, Minnesota.
      2.       Oral argument in this case is scheduled for February 7, 2023 in
Chicago, Illinois. Dkt. 28-1.
      3.       On January 30, 2023, Ms. Grant confirmed with the Court that
           Case: 22-2210   Document: 33        Filed: 02/01/2023   Pages: 4



she would present oral argument on behalf of Appellees. Dkt. 32.
      4.       On January 31, 2023, Ms. Grant’s father died. Arrangements are
being made for the funeral, which likely will occur the week of February 6.
      5.       Given the death of her father and attendant duties and
obligations, Ms. Grant is not in a position to travel to Chicago to present oral
argument on February 7, or otherwise prepare for the argument.
      6.       This   death   in   lead   counsel’s   immediate    family     is   an
“extraordinary circumstance” warranting postponement of oral argument. See
Circuit R. 34(e) (requiring “extraordinary circumstances”); RLI Ins. Co. v. JDJ
Marine, Inc., 716 F.3d 41, 44 (2d Cir. 2013) (noting a “death in counsel’s

immediate family” is “an extraordinary circumstance” warranting extension).
      7.       Counsel for Appellees conferred with Appellants’ counsel, who
stated that they do not oppose this request for postponement.

      8.       This is Appellees’ first motion to postpone oral argument.
     For these reasons, Appellees respectfully request that the Court
postpone oral argument in this case until the 6th week of the January 2023

argument session (February 21-24) or later, as the Court’s schedule allows.

Dated: February 1, 2023               By /s/ Nicholas Bullard
                                      Michelle Grant
                                      grant.michelle@dorsey.com
                                      Nicholas J. Bullard
                                      bullard.nick@dorsey.com
                                      DORSEY & WHITNEY LLP
                                      Suite 1500, 50 South Sixth Street
                                      Minneapolis, MN 55402-1498
                                      Telephone: (612) 340-5671

                                      Counsel for Appellees
        Case: 22-2210    Document: 33          Filed: 02/01/2023   Pages: 4


                     CERTIFICATE OF COMPLIANCE

      I certify that this motion complies with the typeface requirements of Fed.
R. App. P. 27(d)(1)(E), because I prepared the motion in proportionally spaced
typeface using Microsoft Word 2016 in 13-point Century Schoolbook font. I
further certify that this motion complies with the type-volume limitation of Fed.
R. App. P. 27(d)(2)(A), in that it contains 312 words.

Dated: February 1, 2023                   DORSEY & WHITNEY LLP


                                          By   /s/ Nicholas Bullard
                                              Nicholas J. Bullard
                                          50 South Sixth Street, Suite 1500
                                          Minneapolis, MN 55402-1498
                                          Telephone: (612) 340-5671

                                          Counsel for Appellees
        Case: 22-2210   Document: 33         Filed: 02/01/2023   Pages: 4


                        CERTIFICATE OF SERVICE

      I hereby certify that on February 1, 2023, I electronically filed the
foregoing motion with the Clerk of the Court for the United States Court of
Appeals for the Seventh Circuit by using the CM/ECF system. I certify that all
participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.

Dated: February 1, 2023                 DORSEY & WHITNEY LLP


                                        By   /s/ Nicholas Bullard
                                            Nicholas J. Bullard
                                        50 South Sixth Street, Suite 1500
                                        Minneapolis, MN 55402-1498
                                        Telephone: (612) 340-5671

                                        Counsel for Appellees
